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                                        Before the
                            Federal Communications Commission
                                   Washington, DC 20554


                                                 )
In the matter of                                 )
                                                 )
Applications of Tegna Inc., to Standard          )             MB Docket No. 22-162
General, L.P.                                    )
                                                 )
                                                 )



  PETITION TO DENY OF COMMON CAUSE AND UNITED CHURCH OF CHRIST
                       MEDIA JUSTICE MINISTRY



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    I.   INTRODUCTION AND SUMMARY

         Common Cause and United Church of Christ, OC., Inc. doing business as United Church

of Christ Media Justice Ministry (collectively, “Petitioners”), file this Petition to Deny in

response to the Federal Communications Commission’s (“FCC” or “Commission”) Public Notice

regarding the applications of Tegna, Inc. (“Tegna”), Standard General, L.P., (“Standard

General”), CMG Media Corporation (“CMG”), and Apollo Global Management (“Apollo”)

(collectively, “Applicants”)1, and the Applicants’ response to the Commission’s request for

documents and information.2 The applications should be denied or referred to an administrative

law judge for a hearing. Because the Applicants have not demonstrated that the transaction will

serve the public interest, they have not met the requisite burden of proof. In fact, in neither their

application nor response to the Commission’s request for information do the applicants make a

convincing case that the transaction will provide meaningful public interest benefits. To the

contrary, the transaction would bring about significant public interest harms, including harms to

localism, diversity and competition including increasing retransmission consent fee leverage,

which will cost consumers money. The large scope of the transaction would cause national in

addition to local harms.




1
  Media Bureau Establishes Pleading Cycle for Applications to Transfer Control of Tegna Inc. to
Standard General, L.P., and Permit-But-Disclose Ex Parte Status For The Proceeding, MB
Docket No. 22-162, Public Notice, DA 22-442 (rel April 21, 2022); see also Amended
Comprehensive Exhibit of TEGNA Broadcast Holdings, LLC et al., File No 0000186355 (filed
Apr. 1, 2022) (“Comprehensive Exhibit”).
2
  Letter from Soohyung Kim, Managing Member, SGCI Holdings III LLC, Akin Harrison,
Senior Vice President and General Counsel, Tegna Inc., and Houston McCurry, Principal, Private
Equity, Apollo Global Management, Inc. to Marlene H. Dortch, Secretary, FCC, MB Docket No.
22-162 (filed June 13, 2022) (“Applicants June 13 Letter”).

                                                                                                        1
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    II.   THE PUBLIC INTEREST PARTIES HAVE STANDING

          Petitioners meet the Communications Act’s requirements to file a petition to deny as

“parties in interest.”3 As Petitioners demonstrate below, we have standing to file this petition for

several reasons. Petitioners have standing as organizations themselves and as associations of

individual members who possess standing. The Commission’s analysis of standing to participate

in broadcast license transactions has often been truncated and incomplete at best. Moreover, the

Commission recently adopted an impermissible and narrow analysis of associational standing in

the Nexstar-Tribune transaction--characterized by now-Chair Rosenworcel as “brutal.”4 Whether

or not the Petitioners submit affidavits from viewers in each of the more than 50 markets

impacted by this transaction, the Commission may not deny our right to participate in this docket

as parties in interest. As explained in detail below, petitioners possess standing based on

organizational harms and nationwide harms, in addition to local harms. Moreover, the

Commission should further overturn the Nexstar-Tribune Order by exercising its greater latitude

over its own procedures to permit participation as a party-in-interest in a Commission proceeding

when a party may lack Article III standing.

          Common Cause demonstrates it has organizational standing because the transaction will

harm their missions and require them to divert resources. Petitioners also possess associational

standing through their members.

             A. The Commission May Not Reject Petitioners with Article III Standing

          The Commission implied in Nexstar-Tribune, with little consideration, that any

organization filing a petition to deny a transaction qualifies as a party in interest only in the

3
 47 U.S.C. § 309(d)(1).
4
 Applications of Tribune Media Company, Nexstar Media Group, Inc.et al, Memorandum
Opinion and Order, 34 FCC Rcd 8436, 8471 (2019) (“Nexstar-Tribune Order”) (Rosenworcel
dissenting).

                                                                                                       2
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markets where it files declarations from members who are viewers in the markets impacted by

that transaction.5 That decision is wrong and must be explicitly rejected by the Commission.

Although the Commission has at times been unclear and overly narrow in its analysis of standing

to participate in Commission proceedings, it may not exclude parties that meet the obligations of

a party-in-interest under Section 309(d)(1) as long as they possess Article III standing even if

they do not file declarations in local markets impacted by the transaction. Consequently, it must

overrule its standing decision in the Nexstar-Tribune Order and grant Petitioners standing here.

       The right to seek judicial review and to file in a license proceeding at the FCC both

originate in the Communications Act itself. Congress has directly granted parties in interest the

right to challenge broadcast license assignments in the D.C. Circuit, given to “any other person

aggrieved or whose interests are adversely affected by any decision of the Commission granting

or refusing any such application.”6 And Congress also granted parties in interest a right to

challenge a license approval at the FCC.7 The Supreme Court held that Congress’ decision to

grant the right to appeal an FCC decision was broad, finding the Commission could not deny

standing to a party adversely affected even if the harm alleged by the party was not a harm the

Commission would necessarily take into account in considering the licensing decision.8

Similarly, the D.C. Circuit held that the plain language of Section 309 worked to “insure that

persons having the right to appeal from Commission decisions ‘can make this complaint first

before the Commission….’”9

       Article III standing applies more broadly than the Commission’s ruling in Nexstar. The

Supreme Court’s test for standing pursuant to Article III of the constitution for parties to invoke
5
  Nexstar-Tribune Order, 34 FCC Rcd 8436, 8449 ¶ 25, n.112.
6
  47 USC § 402(b)(6).
7
  47 USC § 309(d)(1).
8
  FCC v. Sanders Brothers Radio Station, 309 U.S. 470, 476-77 (1940).
9
  Elm City Broadcasting Corp. v. U.S., 235 F.2d 811, 816 (D.C. Cir. 1956).

                                                                                                      3
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the jurisdiction of federal courts requires: (1) injury-in-fact (2) fairly traceable to the challenged

conduct (3) likely to be redressed by a favorable judicial decision.10 An organization “can assert

standing on its own behalf, on behalf of its members or both.”11 Representational or associational

standing on behalf of members results when (a) members would have standing in their own right;

(b) the interests they seek to protect are germane to the organization’s purpose; and (c) neither

the claim nor relief require participation of individual members.12 Organizations themselves, on

the other hand, have standing (not through their members) if the challenged actions that

“perceptibly impair” the organization’s mission, which can be demonstrated through a diversion

of resources injurious to its mission.13 For example, unions can show standing via harm to their

organizing capacity.14 This standing is similar to that of a business competitor--the corporate

entity is harmed. Such an organizational harm does not require harm to individual members nor

does it require viewers in any market.

        While the vast majority of public interest participants in broadcast license transfer matters

rely upon the status of an entity’s members to assert associational standing, the Commission may

not assume that every non-corporate petition to deny is based on “viewer” standing which “must

allege that he or she is a resident of the station’s service area or a regular viewer of the station.”15

Parties in interest must articulate harm caused by the transaction, but that harm could be derived

from the national impact, the potential harm from transactions is not confined to

geographically-based harm to viewers.
10
   Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016).
11
   PETA v. U.S. Dept. of Agriculture, 797 F.3d 1087, 1093 (2015).
12
   Hunt v. Washington State Apple Advertising Comm’n, 432 U.S. 333, 343 (1977).
13
   Havens Realty Corp. v. Coleman, 455 U.S. 363, 378-79 (1982); Fair Housing Council of
Suburban Philadelphia v. Montgomery Newspapers, 141 F.3d 71, 76 (3d Cir. 1998); PETA v. U.S.
Dept. of Agriculture, 797 F.3d 1087, 1093 (D.C. Cir. 2015).
14
   AFGE Local 1 v. Stone, 502 F.3d 1027, 1032-33 (9th Cir. 2007); EEOC v. AT&T, 556 F.2d 167,
173 (3d Cir. 1977).
15
   E.g., Nexstar-Tribune Order, 34 FCC Rcd. at 8448, ¶ 23.

                                                                                                         4
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       Furthermore, the harm giving rise to organizational or representational standing is not

limited to localized geographic markets. As explained below, a transaction such as the one

proposed here causes nationwide impact on many residents and consumers and it is not

dependent upon the residence of the consumer. The Commission’s decision, therefore,

prohibiting participation at the agency level to parties with Congressional permission and Article

III standing to participate in Commission proceedings would violate the statute, impair rights

given to parties by Congress and at common last and also cause administrative burden on both

the agencies and the courts.16


           B. The Commission Should Grant Broader Participation Than the Minimum
              Required by Article III.

       Commissioner Starks’s powerful and cogent dissent in Nexstar-Tribune explained the

importance of public participation in FCC license transfers:

       Since 1966, when the seminal case on standing was decided, the Commission has relied
       upon members of the public to present evidence of whether the licenses we grant or
       transactions we approve square with our public interest standard and better serve local
       communities. Indeed, even during the broadcast deregulatory era of the 1980s, the
       Commission noted that input from the public would be crucial to allowing the agency to
       exercise its core licensing functions. As we said in another matter, the Commission
       “relies on members of the public to act as private attorneys general to assist in overseeing
       the conduct of applicants and licensees and in fulfilling our statutory functions.”17

The D.C. Circuit similarly observed in the seminal United Church of Christ v. FCC, “[u]nless the

Commission is to be given staff and resources to perform the enormously complex and
16
   Moreover, the Commission must correct the implication of its decision in Nexstar-Tribune that
the failure of an organization party-in-interest that is asserting associational standing to file
affidavits in every market impacted by a transaction somehow impairs its rights to file in the
markets where it does submit affidavits. As Commissioner Starks’ dissent explained, the decision
was unclear and likely to thereby discourage parties from filing to the detriment of the
Commission’s processes. Nexstar-Tribune Order, 34 FCC Rcd at 8473 (Starks dissenting).
Where a party establishes its right to participate as a party-in-interest the Commission may not
block that participation, whether the status is obtained in 1 market or 100 markets.
17
   Nexstar-Tribune Order, 34 FCC Rcd at 8473 (Starks dissenting) (citations omitted).

                                                                                                  5
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prohibitively expensive task of maintaining constant surveillance over every licensee, some

mechanism must be developed so that the legitimate interests of listeners can be made a part of

the record which the Commission evaluates.”18 As now-Chair Rosenworcel explained, “We

should be encouraging the public and individual citizens to take an active interest in the scope

and quality of broadcasting in their communities. It plays a special role in providing local news

and information—and our process should honor this essential truth rather than diminish it.”19 In

fact, in indecency and other enforcement matters, the Commission has often relied upon the fact

that the federal government is not affirmatively monitoring stations around the country, it relies

upon the public to draw to its attention problems with federal licensees.20

       To pursue these ends, the FCC has the freedom to permit the participation of parties even

without Article III standing:

       Within their legislative mandates, agencies are free to hear actions brought by parties
       who might be without party standing if the same issues happened to be before a federal
       court. The agencies’ responsibility for implementation of statutory purposes justifies a
       wider discretion, in determining what actions to entertain, than is allowed to the courts by
       either the [C]onstitution or the common law.21

Not only should the FCC adopt permissive participation standards, but it may not arbitrarily limit

who may participate. “Courts willingly overturn” agency decisions to reject requests to

participate under their authorizing statutes “when the responsible agency, either by failing to


18
   Office of Communication of United Church of Christ v. F.C.C., 359 F.2d 994, 1005 (D.C. Cir.
1966). We note that the seminal work of the United Church of Christ was led by Rev. Everett C.
Parker, and his son, Rev. Truman E. Parker, has filed a declaration attached to this Petition.
19
   Nexstar-Tribune Order, 34 FCC Rcd at 8472 (Rosenworcel dissenting).
20
   Federal Communications Commission, Obscene, Indecent and Profane Broadcasts,
https://www.fcc.gov/consumers/guides/obscene-indecent-and-profane-broadcasts; see FCC v.
Pacifica Foundation, 438 U.S. 726, 734-37 (1978).
21
   Gardner v. FCC, 530 F.2d 1086, 1090 (D.C. Cir. 1976); see also Fund Democracy, LLC v.
S.E.C., 278 F.3d 21, 25 (D.C. Cir. 2002) (“Because agencies are not constrained by Article III,
they may permit persons to intervene in the agency proceedings who would not have standing to
seek judicial review of the agency action.”).

                                                                                                     6
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fashion equitable procedures or by employing its power in an unreasonably overbroad or

otherwise arbitrary manner, has not acted to preserve the participation opportunities of interested

persons.”22

       As the D.C. Circuit once said, “Some consumers need bread; others need Shakespeare;

others need their rightful place in the national society—what they all need is processors of law

who will consider the people's needs more significant than administrative convenience.’”23


              C. Common Cause Has Direct Organizational Standing

       Common Cause has organizational standing based on the harm to responsive democracy

caused by media consolidation. Common Cause describes its mission as follows, “Common

Cause is a nonpartisan, grassroots organization dedicated to upholding the core values of

American democracy. We work to create open, honest, and accountable government that serves

the public interest; promote equal rights, opportunity, and representation for all; and empower all

people to make their voices heard in the political process.24 Common Cause has over 1.5 million

members and 30 state chapters with an average of 50 total staff in those chapters. The transaction

will cause injury-in-fact to its mission and its organization by substantially injuring its efforts to

provide accountable democracy. In recent years, Common Cause and its chapters have expended

an annual budget of over $8,000,000 to ensure that politicians are accountable to the voters who

elect them and to work for political rules that encourage responsive democracy.25 For example,

Common Cause’ state chapters have developed state and local campaigns to advance democratic

reforms that modernize elections, make government more transparent, and amplify the voices of

22
   Nichols v. Board of Trustees of Asbestos Workers Local 24 Pension Plan, 835 F.2d 881, 897
(D.C. Cir. 1987).
23
   Office of Communication of United Church of Christ v. FCC, 359 F.2d 994, 1005 (D.C. Cir.
1966).
24
   About Common Cause, https://www.commoncause.org/about-us/ (June 16, 2022).
25
   Littlewood Declaration, para. 4.

                                                                                                         7
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small-donor donors with citizen-funded election programs.26 Studies show that local voters are

less engaged in their elections with less robust or less targeted news coverage. With less

localized and targeted news coverage, fewer voters will participate by voting and fewer

small-donors are likely to be persuaded to contribute to candidate campaigns. Additionally, with

fewer local journalists and companies with less incentive to cover local news because their

corporate success is less dependent upon providing local news, Common Cause’s work to make

government more transparent will be less effective.27 Political coverage that is less in-depth is

less likely to cover who contributes to political campaigns. Therefore the reforms ensuring that

the identities of campaign contributors are made public are less likely to have their intended

effect--to permit voters to make informed decisions about their exercise of the franchise.

Common Cause’s work as an organization will be harmed by transaction.


            Common Cause’s Stop Cyber Suppression Project also works to combat election

disinformation by tracking the spread of voter suppression content and developing rapid response

techniques. As part of this work, Common Cause works with local journalists to make them

aware of disinformation campaigns, ensure voters have access to accurate voting information,

and inoculate communities who have been exposed to election disinformation. If journalist

layoffs occur, as Common Cause reasonably fears, the journalists Common Cause educated with

regard to disinformation and inoculation against disinformation will be less effective. Reduced

expertise, reduced tenures in their jobs or in a particular local community means that mainstream

broadcast television journalists are less able to provide the sophisticated understanding and

coverage which is urgently needed at this time in our country’s history when those journalists are



26
     Id.
27
     Id.

                                                                                                    8
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the most trusted and when widespread misunderstandings as to fact and fiction are becoming a

danger to the electorate’s participation and trust in responsive democracy.28

       Robust media coverage of state lawmaking is an essential element of a responsive

democracy. The founding fathers placed the right to a free press at the heart of the First

Amendment to the U.S. because of that role. The FCC’s public interest standard, under which

this transaction is evaluated, centers on competition, localism and diversity—including robust

access to local news and information, which is recognized as a First Amendment right. 29 Damage

to this access is a cognizable injury recognized by the courts.30

       Common Cause staff and leadership reasonably fear consolidation means fewer

journalists and less local news coverage.31 Moreover, Common Cause staff who are unable to

rely on paltry or non-existent news coverage of legislation passing in state capitols or local cities

must do more work themselves to uncover non-responsive legislators or proposals that will harm

democratic processes. The harm to Common Cause directly impairs its mission of responsive

democracy and forces the organization to spend more staff time and more financial resources

promoting democracy and democratic reforms. The harms are directly attributable to the

transaction and not occur but for the transaction. Therefore, Common Cause possesses Article III

standing as an organization and must be permitted to participate as a party-in-interest in this

docket opposing this transaction, regardless of whether its members are viewers in any particular

local market.




28
   Id., paras. 5-6.
29
   Red Lion Broadcasting Co. v. FCC, 395 U.S. 367, 390 (1969).
30
   See, e.g., Cooksey v. Futrell, 721 F.3d 226, 235 (4th Cir. 2013); see Spokeo, 136 S. Ct. at 1549
(First Amendment “intangible injuries can…be concrete.”).
31
   Littlewood, paras. 5-6.

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           D. Common Cause and the UCC Have Associational Standing

                   1.   Associational standing based on local impact.

       Common Cause and United Church of Christ members submitting affidavits fear that

their local stations will not cover local news after the transaction. Because of the business model

set forth by Standard General, UCC and Common Cause local members reasonably fear that

their local TV stations will cover more national news and hire fewer journalists than under

ownership by Tegna.32 UCC and Common Cause members reasonably fear their pay television

costs will increase because of this transaction.33 They are also concerned about an increased

harm of programming blackouts.34

       Several declarants explain they are harmed even if they do not watch television because

when “elected leaders are not held accountable” studies show that taxpayers are more likely to

“shoulder the burden of corruption.”35 Less local news also produces less competition and in turn

incentivizes even less local news.36

       Common Cause and UCC Media Justice presented declarations from local markets in:

Atlanta, GA, Boise/Twin Falls, ID, Boston, MA, Cleveland, OH, Columbia, SC, Denver, CO,

Hartford, CT, Indianapolis, IN, Jacksonville, FL, Lincoln, NE, New Orleans, LA, Portland, OR,

Seattle, WA, St. Louis, MO and Washington, DC. 37 Therefore, the Commission cannot deny their


32
    Bilton, paras. 4-6; Classick, paras. 4-6; Guthrie, paras. 4-6; Dennis, paras 4-6; Hill, paras 4-6;
Littleton, paras. 10, 12-15; Denton, para. 9; Fitzgerald, para. 9; Nelson, para. 9; Parker, para. 9,
Williams, para.10; Weston, para. 10.
33
   E.g., Swenson, para. 13; Glover, para. 12; Fitzgerald, para. 15.
34
   E.g., Bilton, para. 10; Classick, para. 10; Guthrie, para. 10; Parker, para. 14.
35
   E.g., Nelson Declaration, para. 11; Weston Declaration, para. 12.
36
   Joshua Darr, “Local News Coverage Is Declining — And That Could Be Bad For American
Politics,” FiveThirtyEight (June 2, 2021),
https://fivethirtyeight.com/features/local-news-coverage-is-declining-and-that-could-be-bad-for-a
merican-politics/.
37
   Declarations of: Bilton; Classick; Dennis; Denton; Farrow; Glover; Guthrie; Hill; Fitzgerald;
Littlewood; Nelson; Parker; Swenson; Weston and Williams.

                                                                                                   10
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participation in this docket because those markets are impacted by this transaction. The

Commission should also grant Common Cause and UCC Media Justice status as

parties-in-interest in the other markets to serve its institutional needs regardless of whether they

have submitted declarations from every market. To the extent that the issues are the same in each

market, the harm is not conjectural and should provide the basis for associational standing

regardless of whether a declaration is filed for each and every market in the transaction. The

members who have filed have established their standing to file as parties-in-interest.


               2. Associational standing based on national impact

       Several UCC members explain that they fear they will be harmed by this transaction

regardless of whether they live in markets directly impacted by the transaction. For example:


       many good and bad policy proposals begin in other states or cities, or, are part of an
       intentional nationwide strategy to alter local laws around the country. When news
       gathering is poor in those places, local people are less likely to adequately vet those
       policies and poor policies are more likely to be adopted. Moreover, I am less likely to
       know about those policies and their impacts before they are adopted because there is less
       newsgathering locally in those communities. I monitor developments in other states in
       order to anticipate likely policy initiatives in my own state or in my own local area.38

       Increased prices for pay television nationwide cause harm regardless of where individual

members live.39



38
  Nelson, paras. 12, 14; Williams, para. 12; Weston, paras. 13, 15.
39
  For example, charges for increased retransmission costs are set nationwide, not differentiated
among markets. Jon Brodkin, “Charter’s nationwide price hike could cost you another $91 a
year,” Ars Technica (Oct. 23, 2018),
https://arstechnica.com/information-technology/2018/10/charters-nationwide-price-hike-could-c
ost-you-another-91-a-year/; David Lazarus, When Companies Say a Merger Will Result in Lower
Prices, Try Laughing in Their Face, LA Times (July 10, 2018),
https://www.latimes.com/business/lazarus/la-fi-lazarus-att-time-warner-price-hike-20180710-stor
y.html (discussing the increase in price of “DirecTV Now” after DirecTV was acquired by
AT&T).

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        In addition, consolidation of media ownership lessens employment opportunities for

traditionally underrepresented groups, harming the UCC’s mission of racial and gender equity

and diversity. UCC members are not only concerned with fairness and equity in hiring in their

local communities. The harm occurs regardless of whether UCC members watch television and

occurs nationally and locally.40


III.    STANDARD OF REVIEW

        The Applicants have the burden of proving the proposed merger serves “the public

interest, convenience, and necessity.”41 This public interest determination encompasses the

“broad aims of the Communications Act” 42 and requires an evaluation of whether the transaction

could result in public interest harms by substantially frustrating or impairing the objectives or

implementation of the Communications Act of 1934, as amended (“the Act”). Particularly in the

context of a broadcast merger, the Commission must take special consideration of the effects on

the core tenets of diversity and localism as expressed in the Act. 43 The Commission is not

confined to determining whether the proposed transaction complies with existing rules.44 It must

consider “whether it could result in public interest harms by substantially frustrating or impairing

the objectives or implementation of the Act or related statutes.” In its review, the Commission

employs a balancing process, weighing claimed benefits of the proposed transaction against any

40
   Nelson, paras. 12, 14; Williams, para. 12; Weston, paras. 13, 15.
41
   47 U.S.C. § 310(d).
42
   Id.
43
   Applications for Consent to Transfer Control of License Subsidiaries of Media General, Inc.,
from Shareholders of Media General, Inc., to Nexstar Media Group, Inc., Memorandum Opinion
and Order, 32 FCC Rcd. 183, 196 ¶ 35 (2017) (“Nexstar/Media General Order”).
44
   Applications For Consent To Transfer Control of Certain License Subsidiaries of Raycom
Media, Inc. To Gray Television, Inc., 2018 WL 6722650, at *5; Univision Holdings, Inc. -
Searchlight and Grupo Televisa, Petition For Declaratory Ruling, 35 FCC Rcd. 14835, ¶18
(2020); Consent to Transfer Control of Certain License Subsidiaries of NBI Holdings, LLC To
Terrier Media Buyer, Inc. Consent to Transfer Control of Certain License Subsidiaries of Cox
Enterprises, Inc. to Terrier Media Buyer, Inc. Consent T, 34 FCC Rcd. 10554, 10561 (2019).

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potential public interest harms.45 Therefore, it is not enough for the Applicants to assert or even

prove that the transaction will not be harmful to consumers and competition, rather, they must

prove that it would provide affirmative benefits to the public.46 Any claimed benefits must be: (1)

transaction specific – likely to occur as a result of the transaction but unlikely to be realized by

other practical means having fewer anti-competitive effects; (2) verifiable – both in likelihood

and magnitude; and (3) for the benefit of consumers, and not solely for the benefit of the

Applicants.47

        The Commission’s public interest analysis also embodies a “deeply rooted preference for

preserving and enhancing competition in relevant markets … and ensuring a diversity of

information sources to the public.”48 Thus, the Commission must examine the competitive effects

of the transaction with special “reference to diversity, localism, [and] other public interest

considerations.”49 Particularly in the context of a broadcast merger, the Commission must take

special consideration of the effects on diversity and localism when reviewing the proposed

acquisition.50

        The Commission calculates the magnitude of the claimed benefits and the net cost of

achieving them, and then employs a “sliding scale approach,” under which the Applicants’
45
   Nexstar-Media General Order, 32 FCC Rcd. at 191-92 ¶ 19.
46
   Applications of Comcast Corporation, General Electric Co. & NBC Universal, Inc. for
Consent to Assign Licenses and Transfer Control of Licensees, Memorandum Opinion and Order,
26 FCC Rcd. 4238, 4248 ¶ 24 (2011) (“Comcast/NBCU Order”).
47
   Nexstar/Media General Order, 32 FCC Rcd. at 192-93 ¶¶ 22-24.
48
   Comcast/NBCU Order, 26 FCC Rcd at ¶ 23.
49
   Applications of Charter Communications, Inc., Time Warner Cable Inc., and
Advance/Newhouse Partnership; for Consent to Assign or Transfer Control of Licenses and
Authorizations, Memorandum Opinion and Order, 31 FCC Rcd. 6327, 6338 ¶ 29 (2016)
(“Charter/TWC Order”).
50
   See Nexstar/Media General Order, 32 FCC Rcd. at 196 ¶ 35 (citing 2013 Gannett/Belo Order,
28 FCC Rcd. at 16879 ¶ 30) (“[W]e must giv[e] careful attention to the economic effects of, and
incentives created by, a proposed transaction taken as a whole and its consistency with the
Commission’s policies under the Act, including our policies in favor of competition, diversity,
and localism.”).

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demonstration of benefits must reveal a higher degree of magnitude and likelihood than the

Commission would otherwise demand where, as here, the potential harms are both substantial

and likely. If the Commission is unable to find that the alleged benefits do in fact outweigh the

harms, or if there remain substantial and material questions of fact outstanding, the Commission

must designate the application for a hearing.51

       In addition, in the broadcast context, the public interest can only be served by a

transaction that advances localism. A broadcaster’s connection to, and coverage of, its local

community is a bedrock principle of broadcast television public policy. Indeed, Section 307(b)

of the Communications Act requires the Commission to “make such distribution of licenses,

frequencies, hours of operation, and of power among the several states and communities as to

provide a fair, efficient, and equitable distribution of radio service to each of the same.”52 And

the Commission licenses television broadcast stations “to the principal community or other

political subdivision which it primarily serves.”53

       While the how of the pursuit of localism over the years may vary in part – from the

Commission’s “Blue Book” in the 1940s, to the 1960 Programming Policy Statement and the

focus on market mechanisms under the 1996 Telecommunications Act – the what has remained

the same: coverage, content, and news responsive to the local community’s particular needs.

And localism is also the reason why the broadcast licenses for “waterfront” spectrum in each

local community are granted and renewed for free, even as most other communications licenses

are granted by auction.54 Rather than dollars, service to the local community is the currency paid

by broadcasters for these valuable rights. The public interest analysis for any broadcast transfer


51
   47 U.S.C. § 309(e); see also Nexstar/Media General Order, 32 FCC Rcd. at 191-92 ¶ 19.
52
   47 U.S.C. § 307(b).
53
   47 C.F.R. § 73.1120.
54
   47 U.S.C. § 309(j).

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of control proceeding must therefore consider whether the proposed transaction advances (or

conversely, undermines) this core principle.55


IV.        THE APPLICANTS HAVE FAILED TO MEET THEIR BURDEN

           Based on their application, the Applicants have not met the above-stated burden of proof.

The proposed merger presents harms to the public interest in localism, diversity and competition

including increasing retransmission consent leverage. In their initial application, the Applicants

make no effort to address these public interest harms. They say nothing about the transaction’s

competitive effects. All they offer is a few pages of rhetoric asserting that the Applicants support

localism, a remarkably weak justification for a multi-billion dollar acquisition.

           The Applicants’ response to the Commission’s request for documents and information

also fails to meet this burden. Rather than providing specific details of how Standard General

will invest and increase local news in Tegna’s stations post-transaction, the Applicants primarily

provide ‘management-speak’ regarding its business decisions. Further, the Applicants fail to

address the transaction’s potential public interest harms as it relates to undermining localism,

higher prices for consumers, and national reach. As discussed below the potential for public

interest harms are substantial and likely and should therefore result in the dismissal of the

applications or referral to a hearing.


     V.    THE PROPOSED TRANSACTION WOULD UNDERMINE LOCALISM

           Localism is the main reason why broadcasters have received free access to the nation’s

airwaves, and it remains a critical component of the Commission’s public interest analysis. As

discussed below, localism is important for its influence on civic engagement and elections and

still remains a critical source of news and information for marginalized communities. It is no

55
     See, e.g., Comcast/NBCU Order, 26 FCC Rcd. at 4240-42 ¶¶ 3, 5, 6.

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surprise that further consolidation of groups of local stations acts as a centripetal force pulling

broadcasters away from their local roots. Recent empirical research confirms that media

consolidation has been bad for localism, as the larger broadcast conglomerates do not invest

freed resources into local content and coverage.56 The Applicants’ prior broadcast acquisitions

and stated goals demonstrate that this transaction would undermine localism.


     A. The Commission Has Established Localism is Important to the Public Interest

        The Commission has long-established that broadcasters must meet the needs of the

communities to which they are licensed.57 Today, when the FCC awards licenses to provide

broadcast service, it does so using local licenses relating “to the principal community or other

political subdivision which it primarily serves.”58 The Commission requires broadcasters to

provide service within certain technical parameters to ensure that members of its community can

receive the service.59 Further, the Commission adopted numerous pro-localism principles in its

2008 Declaratory Ruling.60 These policies grant broadcasters increased autonomy and control

over programming and other critical decisions pertaining to serving the community.61

        The Commission’s rules and policies promote localism because broadcast programming

continues to remain a critical source for news and local information for communities. A recent

Pew study found that television remains a common place for Americans to get their news with

56
   See e.g., Sandra Braman, The Ideal v. the Real in Media Localism: Regulatory Implications, 12
Comm. L. & Policy 231, 273 (2007) (citing Ronald Bishop and Ernest A. Hakanen, In the Public
Interest? The State of Local Television Programming Fifteen Years after Deregulation, 26 J. of
Comm. Inquiry 261 (2002)); Steven T. Barry and Joel Waldfogel, Do Mergers Increase Product
Variety? Evidence from Radio Broadcasting, 116 Q.J. Econ. 1009 (2001).
57
   See FCC, Broadcasting and Localism: FCC Consumer Facts,
https://transition.fcc.gov/localism/Localism_Fact_Sheet.pdf.
58
   See 47 C.F.R. § 73.1120.
59
   See 47 C.F.R. § 73.1125(a)(1), (e).
60
   See Network Affiliated Stations Alliance (NASA) Petition for Inquiry into Network Practices
and Motion for Declaratory Ruling, Declaratory Ruling, 23 FCC Rcd 13610 (2008).
61
   See id., ¶¶ 6, 8-9.

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local TV on par with or outpacing cable and network TV. 62 Further, another report indicates that

nearly half of Americans say local news outlets have been a major source of news about the

COVID-19 pandemic.63 Local news still remains the most trusted in keeping Americans

informed about their communities,64 and broadcast stations are uniquely situated to provide

coverage regarding local weather reports, traffic reports, school closings, local elections, and

town hall events.

       Local broadcasting is particularly important for communities of color and low-income

communities. Black Americans are “more likely to be interested in local news and to trust

information from local news organizations more generally.”65 Low-income residents rely more

on over-the-air television than digital media.66 And communities with particularly high shares of

Hispanic and Black residents “are more likely to say [that] most key local news topics are

important for their daily lives than those in higher-proportion white areas.”67 Hispanic

immigrants living outside of metro areas and Native Americans living on reservations rely

strongly on radio for news.68



62
   Local TV News Fact Sheet, Pew Research Center (July 13, 2021),
https://www.pewresearch.org/journalism/fact-sheet/local-tv-news/.
63
   Elisa Shearer, Local News Is Playing an Important Role for Americans During COVID-19
Outbreak, Pew Research Center (July 2, 2020),
https://www.pewresearch.org/fact-tank/2020/07/02/local-news-is-playing-an-important-role-for-a
mericans-during-covid-19-outbreak/.
64
   Local News Most Trusted in Keeping Americans Informed About Their Communities, Knight
Foundation (May 19, 2022),
https://knightfoundation.org/articles/local-news-most-trusted-in-keeping-americans-informed-ab
out-their-communities/.
65
   Elisa Shearer, Local News is Playing an Important Role for Americans During COVID-19
Outbreak, Pew Rsch. Ctr. (July 2, 2020).
66
   Pew Rsch. Ctr., For Local News, supra, at 65.
67
   Pew Rsch. Ctr., For Local News, Americans Embrace Digital but Still Want Strong
Community Connection 65 (Mar. 26, 2019).
68
   Penelope Muse Abernathy, U.N.C. Hussman Sch. of Journalism & Media, News Deserts and
Ghost Newspapers: Will Local News Survive? 44 (2020).

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       Local broadcasting is also important for its influence on civic engagement and elections.

For example, a recent Gallup study found that 81 percent of people who follow local news very

closely are likely to vote.69 Good evidence demonstrates that stations that serve audiences of

color also correlate with increased voting by those communities.70 Local news also plays an

important role in shaping voters’ opinion of political candidates and informing the electorate.

Indeed, campaigns and other political organizations spent approximately $5.3 billion on local

broadcast television during the 2020 presidential election.71 Tegna alone generated $445.5

million in political advertising revenue in 2020.72 Analysts predict broadcasters will generate

$4.5 billion in political advertising revenue during the 2022 election cycle.73 The close link




69
   Elise Goldstein, A New Gallup/Knight Foundation Study Shows the Connection Between Local
News and Civic Engagement. Here’s How We’re Working to Address its Key Findings, The
Lenfest Institute (Aug. 24, 2020),
https://www.lenfestinstitute.org/local-journalism/knight-foundation-gallup-local-news-survey/.
70
   Lisa M. George and Felix Oberholzer-Gee, Media Ownership 2016 Quadrennial Review Study
8B, Diversity in Local Television News at 18 (2011); Berry, S., J. Waldfogel. Do Mergers
Increase Product Variety? Evidence from Radio Broadcasting. Quarterly Journal of Economics,
116, 1009-1025 (2001); Gentzkow, Matthew. "Television and Voter Turnout." Quarterly Journal
of Economics 121, no. 3(2006): 931-72; George, Lisa M. and Joel Waldfogel, “National Media
and Local Political Participation: The Case of the New York Times” in Roumeen Islam, ed.,
Information and Public Choice: From Media Markets to Policymaking. Washington, DC: World
Bank Publications, pp. 33-48 (2008); Oberholzer-Gee, Felix, and Joel Waldfogel. "Media
Markets and Localism: Does Local News En Español Boost Hispanic Voter Turnout?" American
Economic Review, 99, no. 5 (2009): 2120-28.
71
   Alex Werpin & Caitlin Huston, Midterm Moolah: TV Stations Cash in on Primary Season, The
Hollywood Reporter (May 25, 2022),
https://www.hollywoodreporter.com/business/business-news/midterm-moolah-tv-stations-cash-in
-on-primary-season-1235153514/.
72
   Mike Reynolds & Stefen Joshua Rasay, Following Record 2020, TV Groups Eye Robust
Political Ad Revenues from Mid-Term, S&P Global (March 4, 2021),
https://www.spglobal.com/marketintelligence/en/news-insights/latest-news-headlines/following-r
ecord-2020-tv-groups-eye-robust-political-ad-revenues-from-mid-term-63007545.
73
   Alex Werpin & Caitlin Huston, Midterm Moolah: TV Stations Cash in on Primary Season, The
Hollywood Reporter (May 25, 2022),
https://www.hollywoodreporter.com/business/business-news/midterm-moolah-tv-stations-cash-in
-on-primary-season-1235153514/.

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between local news viewership and voting patterns supports the Commission’s public interest

mandate of promoting localism.

     B. The Applicants’ Stated Business Intentions Would Reduce the Amount and Scope of
        Local News Coverage

        The Applicants’ stated business intentions reveal how localism would be undermined

post-transaction. Specifically, their business intentions would lead to a reduction in the amount

and scope of local news coverage through reporter layoffs and a displacement of local

programming with national programming. While the Applicants portray Standard General,

CMG, and Apollo as “model[s] of localism,” the only support they offer in their initial

application dates from the days prior to the acquisition of CMG by Apollo. 74 After that

acquisition, we are told that “[t]his identity [the “identity of the communities” Cox served] has

been maintained and even bolstered.75 But the Applicants provide very little information as to

how these stations were bolstered post-transaction. Even in their June 13 Letter, the Applicants

primarily provide information related to equipment upgrades CMG has made to its stations after

the deal but very little information regarding hiring and retaining journalists and providing

programming coverage that meets the information needs of the communities they serve.76

Further, the Applicants’ fail to mention the layoffs that took place at CMG stations after Apollo’s

acquisition. After its purchase of CMG, Apollo laid off reporters and on-air personalities in

stations across multiple markets.77 Further, CMG laid off 87 employees as it prepared for its

acquisition by Apollo. 78 Rather than address these harms, the Applicants’ true plans is provided
74
   See Comprehensive Exhibit at 7.
75
   See id.
76
   See Applicants June 13 Letter at 7-8.
77
   More Names Affected By Last Week’s Cox Media Group Layoffs, Radio Insight (Sept. 29,
2021),
https://radioinsight.com/headlines/213217/large-round-of-layoffs-hit-cox-media-group-stations/.
78
   Report: Layoffs Loom as Apollo Readies Purchase of Cox Media Group, Inside Radio (Sept.
10, 2019),

                                                                                                    19
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by this phrase: “CMG [Apollo] stations not only produce their own market-leading local

newscasts, but they also gain access to national content generated by CMG’s Washington D.C.

Bureau. Access to this programming will improve the local service provided by the acquired

stations on day one.”79 Investments in a Washington, D.C. News Bureau do not enhance

programming at the local level based on the needs and interests of the communities the

Applicants currently serve. There are multiple vectors for communities to access national news

content, but as explained in the prior section, broadcasting’s unique role is to provide local

information and locally responsive content. The emphasis the Applicants place in establishing a

Washington, D.C. News Bureau raises questions as to whether national content will supplant or

displace local content. Indeed, by the Applicants own admission, they intend to increase the use

of a national news desk from which their acquired stations would broadcast information.80 This is

a central component of their application, which should give the Commission pause for concern.

       Standard General has been even more outspoken regarding its business intentions in its

proxy statement to Tegna shareholders about what it thinks of localism: “TEGNA has 2x the

number of employees per station compared to peers, and lags its closest local broadcasting peers

on EBITDA margin.” 81 The “per station” says it all. It is the local stations’ jobs that Standard

General is after. Nor is this the typical kind of efficiency claimed made in other merger

proceedings – Standard General is not saying that the transaction will eliminate the need for two

national managers as one will suffice for the new and larger jointly managed group. What


https://www.insideradio.com/free/report-layoffs-loom-as-apollo-readies-purchase-of-cox-media-
group/article_36fc2cf0-d391-11e9-9914-6f8a0243aaa0.html.
79
   Comprehensive Exhibit at 7; see also Applicants June 13 Letter at 9.
80
   Comprehensive Exhibit at 7.
81
   Tegna Inc. & Standard General L.P., Additional Definitive Proxy Soliciting Materials Filed by
Non-Management and Rule 14(a)(12) Material (Form DFAN14A), at 21 (Apr. 13, 2020) (“Proxy
Statement”), https://sec.report/Document/0001104659-20-045933/tm2015782-1_dfan14a.htm.
https://investors.tegna.com/static-files/064251d9-7c52-4b76-b7b6-739e3af7a7a2.

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Standard General says is more blatant: in its view, Tegna just employs too many people at each

local station. Indeed, it is telling that in the midst of the Commission’s review of this acquisition,

Standard General’s CEO sent a memo to Tegna workers stating they have no intention of

reducing staff post-transaction in response to Tegna’s employees’ rightful concern about the

potential for massive layoffs as Standard General made its business intentions clear.82 The cutting

of potentially half the resources available to local stations cannot possibly enhance the

Commission’s goals to promote localism.

       While the Applicants claim localism as an advantage, their prior actions and stated

intentions tell a different tale -- one that would lead to significant reductions in local news should

the Commission approve the transaction.


VI.    THE PROPOSED TRANSACTION WOULD LEAD TO HIGHER PRICES FOR
       CONSUMERS.

       The current retransmission consent regime, where cable operators must negotiate in good

faith with broadcasters to carry their programming, already gives undue power to large

broadcasters. The proposed transaction would further exacerbate this framework as the

Applicants have structured the deal to take advantage of after-acquired clauses in retransmission

consent negotiations. This will allow the Applicants to exert greater leverage and charge higher

retransmission rates which will undoubtedly get passed down to consumers in the form of higher

cable prices. In the event that retransmission negotiations breakdown, consumers may experience

programming blackouts.




82
  Al Tompkins, Standard General tells Tegna employees ‘no intention to reduce staff,’ Poynter
(June 17, 2022),
https://www.poynter.org/business-work/2022/standard-general-memo-tegna-layoffs-staff-cuts/.

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           A. Retransmission Prices Will Rise Because of After-acquired Clauses and Upon
              Renewal of Retransmission Contracts

       By 2023, retransmission fees are projected to increase to $12.9 billion, or 5,915% of 2006

revenues.83 Put simply, retransmission prices next year will be 60 times what they were in 2006.

The reason for this? The power wielded by the broadcast groups as they become larger through

mergers such as this one.

       Typically, these fees are negotiated in three-year cycles. However, increases in

retransmission consent fees will come much sooner than the next three-year negotiation cycle if

these transactions are approved. In fact, the effect may be immediate, thanks to twin clauses – the

“change-in-control” and “after-acquired station” clauses” – customarily found in the contracts

between broadcasters and distributors.84

       The Applicants intentionally structured this deal to take advantage of such clauses, just as

they have done so in the past. In the simultaneously contracted-for, applied-for, and approved

purchase of the Northwest and Cox stations, Apollo sought to sequence artificially the timing of

the two purchases so as to claim automatic retransmission fee increases, to the tune of tens of

millions of dollars, by invoking the after-acquired station clauses of the relevant retransmission

agreements.85 This will lead to a drastic increase in cable TV subscription rates for consumers at




83
   Retransmission Fee Revenue for U.S. Local TV Stations, Pew Research Center (July 13, 2021),
https://www.pewresearch.org/journalism/chart/sotnm-local-tv-u-s-local-tv-station-retransmission
-fee-revenue/.
84
   RBR-TVBR, Kagan Sees Retrans More than Doubling by 2019, Radio + Television Business
Report (Nov. 22, 2013), https://www.rbr.com/kagan-sees-retrans-more-than-doubling-by-2019/;
Jon Eggerton, Cable Operators Complain of Retrans ‘Arbitrage,’ Next TV (May 28, 2012),
https://www.nexttv.com/news/cable-operators-complain-retrans-arbitrage-263853.
85
   William Cohan, “Television Is What Gets Senators Elected”: Private-Equity Mogul Leon
Black Is Building a Local TV Empire to Rival Sinclair and Fox, Vanity Fair (Apr. 15, 2019),
https://www.vanityfair.com/news/2019/04/leon-black-is-building-a-local-tv-empire-to-rival-sincl
air-and-fox.

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a time when many Americans are living paycheck to paycheck as inflation reaches its greatest

point in 40 years.86

        Standard General, for its part, candidly avows that it has set for itself the same objective,

emphatically complaining to shareholders in connection with this deal that Tegna’s prices “have

historically lagged Nexstar, Sinclair and Gray.”87 And higher prices to distributors eventually

find their way, in whole or in part, to the consumer’s bill, translating into inflationary pressure at

the wholesale and retail levels alike. Further, automatic rate hikes are hardly the only price

increases regarding this transaction. By improving Standard General’s and Apollo’s bargaining

position, the deal will likely result in higher prices in renewal retransmission negotiations, too.

Distributors have already shown that broadcast mergers increase the merging groups’ bargaining

power, and not only when their stations operate in the same local market. As Federal Trade

Commission Chair Khan has emphasized in her seminal article, Amazon’s Antitrust Paradox,

with respect to cable franchise areas, access of distributors to interconnected markets matters,

too.88 The union of two broadcast groups means higher rates even though the merging stations

may operate in separate local markets. The Commission has not examined this phenomenon of

interconnected local broadcast markets in detail and should urgently take that examination now.




86
   Jeff Cox, “Inflation Barreled Ahead at 8.3% in April from a Year Ago, Remaining Near
40-Year Highs,” CNBC (May 11, 2022), https://www.cnbc.com/2022/05/11/cpi-april-2022.html.
87
   Proxy Statement at 20.
88
   Lina Khan, Amazon’s Antitrust Paradox, 126 The Yale Journal 710, 721 (2017) (“Notably, the
Obama Administration’s opposition to one of the largest mergers proposed on its
watch—Comcast/Time Warner—stemmed from a concern about market access, not prices.”)

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           B. The Transactions Will Cause Price Increases for Pay TV Consumers and
              More Blackouts.

       The automatic price increases are separate and apart from the higher fees that the merged

companies’ greater market dominance and bargaining power will allow them to extract when

negotiating retransmission agreement renewals in the ordinary course of business.

       Today, retransmission fees are a substantial non-advertising revenue source for the

owners of broadcast TV stations. 89 In 2014, the Commission reported that the average cost for

basic cable plan increased 6.5% in 2012, and the average cost per-channel for cable consumers

increased 2.1% that same year, which coincided with an increase in retransmission fees.90 As

retransmission fees continue to increase, it can be expected that more of these costs will be

passed down to consumers.

        In addition, given the history of service disruptions during the course of negotiations

over retransmission consent, all indications are that more consumers will suffer longer blackouts,

in the wake of a two-year-long global pandemic, and at a time when access to local information

and connectivity is more vital than ever before.

       None of the Applicants is a stranger to blackouts on distributors. In the short time since

Apollo acquired CMG, it has imposed blackouts on DISH, AT&T/DIRECTV, Buckland

Telephone Co., CableOne, Charter Spectrum, Frontier Communications, Suddenlink, and

Verizon Fios.91 In previous incarnations, the Standard General leadership was a champion of

89
   Media Bureau, Report on Cable Industry Prices, Federal Communications Commission (May
16, 2014),
https://transition.fcc.gov/Daily_Releases/Daily_Business/2014/db0516/DA-14-672A1.pdf
90
   Id.
91
   Rodney Ho, “WSB-TV Back on Air After Fives Days for AT&T/DirecTV Subscribers,”
Atlanta Journal-Constitution (Feb. 7, 2021),
https://www.ajc.com/life/radiotvtalk-blog/wsb-tv-back-on-air-after-five-days-for-attdirectv-subsc
ribers/HKVKTKO5VJC6DHE5V4M3PNF6NI/; Michael Balderston, “Cox Media Stations Go
Dark on DirecTV in 20 Markets,” TV Tech (Feb. 2, 2021),
https://www.tvtechnology.com/news/cox-media-stations-go-dark-on-directv-in-20-markets

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blackouts as a retransmission leverage tool as well, imposing them on several distributors over

the years.92 And Tegna itself has imposed blackouts on AT&T/DIRECTV, Mediacom, DISH, and

Verizon in the last few years, including during the period right before or during the NFL playoffs

or World Series.93 Given Standard General’s complaints that Tegna has not been negotiating hard

enough for higher retransmission fees, one can only imagine that the Tegna stations will become

even more likely to be used as pawns in more hold-the-consumers-hostage service disruptions.


VII.    THE SCOPE OF THE TRANSACTION CAUSES NATIONAL HARMS

           A. The Size and Scale of This Merger Poses National Harms Regardless of The
              Applicants’ Compliance With Ownership Limits

        If completed, the proposed merger would give Standard General control of 61 full-power

television stations and two radio stations across 50 television markets and CMG 31 full-power

television stations in 26 markets and 54 radio stations in 11 radio markets.94 This level of

ownership poses significant national harms given the transaction’s negative impact to localism

(“Apollo-owned stations have an extremely long and disreputable history of either threatening or
pulling the Super Bowl and other important events from Buckland Telephone Co., CableOne,
Charter Spectrum, DISH Network, Frontier Communications, Suddenlink, Verizon Fios and our
own [AT&T] customers.”)
92
   See, e.g., Daniel Frankel, “Nashville ABC Station Issues Blackout Threat to Mediacom,”
Fierce Video (Jul. 6, 2015)
https://www.fiercevideo.com/cable/nashville-abc-station-issues-blackout-threat-to-mediacom.
93
   Mike Snider, TV tussle: DirecTV, Tegna dispute turns TV channels dark in 51 markets
including Houston, Seattle, USA Today (Dec. 2, 2020),
https://www.usatoday.com/story/tech/2020/12/02/tv-directv-tegna-dispute-results-channel-outage
s-51-markets/3794473001/ ; Mike Farrell, Tegna Stations Go Dark to Mediacom, Next TV (Jan.
4, 2021), https://www.nexttv.com/news/tegna-stations-go-dark-to-mediacom; Ben Munson, Dish
Network dispute with Tegna begins yet another channel blackout, Fierce Video (Oct. 7, 2021),
https://www.fiercevideo.com/video/dish-network-dispute-tegna-begins-yet-another-channel-blac
kout; Jeff Clabaugh, Tegna TV stations, including DC’s Channel 9, go dark on FIOS, WTOP
News (Jan. 5, 2022),
https://wtop.com/business-finance/2022/01/tegna-tv-stations-including-dcs-channel-9-go-dark-o
n-fios/ (“This is not the first time that Tegna has removed their content from a TV provider.
Tegna has a track record of removing their content when a TV provider refuses to accept their
demands for unreasonable rate increases…”).
94
   Comprehensive Exhibit at 2-3.

                                                                                                  25
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and the higher cable prices consumers would have to pay. Stories and issues of significance that

arise in one market can appear in other markets. As explained in several Common Cause

declarations, without robust local news across multiple markets, providing coverage of issues

impacting our democracy, harmful proposals are more likely to spread. Further, an increase in

pay television prices nationwide harms consumers regardless of what market they reside.

       The Applicants report that Tegna would have a national audience reach of 28.46% of

U.S. households post-transaction with the UHF discount taken into account.95 Without the UHF

discount, Tegna would have a national audience reach of 38.46% post transaction, a few decimal

places below the 39% cap.96 The UHF discount is a relic of a long past time, as technological

change in the marketplace has eliminated the justification for the discount.97 When the

Commission created the UHF discount, Ultra High Frequency channels were viewed as a lesser

counterpart to Very High Frequency channels.98 This was no longer the case when the

Commission repealed the UHF Discount in 2016, as the DTV transition and other innovations

made UHF channels as desirable, if not more so, than its counterparts.99 Nothing has changed

since 2016, and there is no reason for the UHF discount to continue to exist. The fact that the

Applicants barely fall under the 39% cap without the UHF discount demonstrates how it can be

used as a vehicle for circumventing compliance with the national cap.




95
   Comprehensive Exhibit at 13.
96
   Id., n.22.
97
   Amendment of Section 73.3555(e) of the Commission's Rules, National Television Multiple
Ownership Rule, Report and Order, 31 FCC Rcd 10213 (2016).
98
   Bill Durdach, The UHF Discount and the National Television Ownership Rule: “This I Tell
You Brother: You Can’t Change One Without the Other,” The CommLaw Conspectus: Journal of
Communications Law and Technology Policy (2014),
https://scholarship.law.edu/cgi/viewcontent.cgi?article=1554&context=commlaw
99
   Amendment of Section 73.3555(e) of the Commission's Rules, National Television Multiple
Ownership Rule, Report and Order, 31 FCC Rcd 10213 (2016).

                                                                                                  26
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       Although the parties claim compliance with the National Television Ownership rule,

nominal consistency with the cap is not a greenlight to complete the transaction, and it does not

mean there are no harms present. The FCC does not approve transactions simply because they

comply with ownership limits.100 Rather, the Applicants have the burden of proving the

transaction is in the public interest. Not only have the Applicants failed to show any public

interest benefits but they have also not demonstrated how the transaction would not result in the

harms animated by the national cap despite falling slightly under it.

       The Commission has not considered the rationale for the National Television Ownership

Rule in many years. The last time the FCC considered the question and substantially increased

that limit,101 Congress has stepped in to bring the cap down.102 Then-Senate Majority Leader Tom

Daschle spoke on the Senate floor about the concern many Senators held about “the

concentration of media ownership,”103 and Senator Jon Corzine questioned whether or not an

increased cap would enable people to “fulfill their civic duty and gather information” amidst

increasing levels of media consolidation.104 There was near-unanimous consent in Congress that


100
    Applications For Consent To Transfer Control of Certain License Subsidiaries of Raycom
Media, Inc. To Gray Television, Inc., 2018 WL 6722650, at *5; Univision Holdings, Inc. -
Searchlight and Grupo Televisa, Petition For Declaratory Ruling, 35 FCC Rcd. 14835, ¶18
(2020); Consent to Transfer Control of Certain License Subsidiaries of NBI Holdings, LLC To
Terrier Media Buyer, Inc. Consent to Transfer Control of Certain License Subsidiaries of Cox
Enterprises, Inc. to Terrier Media Buyer, Inc. Consent T, 34 FCC Rcd. 10554, 10561 (2019).
101
    2002 Biennial Regulatory Review – Review of the Commission’s Broadcast Ownership Rules
and Other Rules Adopted Pursuant to Section 202
 of the Telecommunications Act of 1996, 18 FCC Rcd 13620, ❡❡ 501-584(2003).
102
    A Joint Resolution Disapproving the Rule Submitted by the Federal Communications
Commission with Respect to Broadcast Media Ownership, S.J. Res. 17, 108th Cong. (2003)
(available at https://www.congress.gov/bill/108th-congress/senate-joint-resolution/17).
103
    Tom Daschle (SD), “Agriculture, Rural Development, Food and Drug Administration, and
Related Agencies Appropriations Act, 2004—Conference Report,” 150 Congressional Record
263 (2004),
https://www.govinfo.gov/content/pkg/CRECB-2004-pt1/pdf/CRECB-2004-pt1-Pg263.pdf.
104
    Jon Corzine (NJ), “Agriculture, Rural Development, Food and Drug Administration, and
Related Agencies Appropriations Act, 2004—Conference Report,” 150 Congressional Record

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the cap should not be raised, yet it still was. Over time, Senator Daschle and Senator Corzine’s

concerns have only become more prescient, and now the Commission should revisit the rationale

behind the National Television Ownership rule and heed the Senators’ warnings. The

Commission should reconsider its 2003 reasoning in light of Congress’ rejection of the FCC’s

most recent full treatment of the Rule and, regardless of the Rule, look carefully at the national

harms caused by this transaction.


            B. Apollo’s Rights to Standard General May Not Be in Compliance With
               Ownership Limits

        While the Applicants have structured Apollo’s supposedly non-voting stake in Standard

General so that it does not trigger attribution under the Commission’s rules, the reality may be

different. First of all, a carefully crafted provision of the Term Sheet states that,


        for the avoidance of doubt, … employees of Apollo or any Apollo affiliate who are
        members of the Board of Directors of CMG Holdings, Inc. or who otherwise participate
        in the management of any Apollo affiliate’s investment in CMG Holdings, Inc. shall not
        have access to any Competitively Sensitive Information.105

But what about all other Apollo employees? The implication is that they may be afforded access

to Competitively Sensitive information about Standard General’s retransmission fee negotiations.

In addition, even if the rights given Apollo were viewed as within the realm of legitimate

minority rights, they should be viewed through the lens of these transactions’ circumstances.

Each of Standard General and Apollo periodically negotiates retransmission deals with cable,

satellite, and over-the-top distributors. There is no guarantee that Apollo will not use the leverage

of rights it is given to exact outcomes it wants in the retransmission fee area, especially since


264 (2004),
https://www.govinfo.gov/content/pkg/CRECB-2004-pt1/pdf/CRECB-2004-pt1-Pg263.pdf.
105
    Term Sheet at 9.

                                                                                                     28
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 Standard General may not act against Apollo’s preferences – and there is no guarantee that

 Apollo would not state its preferences regarding retransmission consent to Standard General.106

 While the Communications Act prohibits coordination of negotiations or negotiation on a joint

 basis by two or more television broadcast stations not under common de jure control in the same

 local market,107 there is no guarantee that such indirect influence can even be detected and, even

 if it is, that it will be viewed as implicating that prohibition.

           If Apollo would have de facto control of Standard General’s stations despite its

 non-voting stake, the transaction would undoubtedly exceed ownership limits. The Commission

 must carefully evaluate the structure of this transaction and at a minimum designate for a hearing

 to determine whether or not it is in actual compliance with ownership rules.

VIII.      CONCLUSION

           For the foregoing reasons, the Petitioners respectfully request that the Commission deny

 the Applicants’ proposed transaction or designate the applications for a hearing. The Applicants

 fail to meet their affirmative burden to demonstrate the contemplated merger will serve the

 public interest.



                                                  Respectfully submitted,

                                                  /s/ Yosef Getachew
                                                  /s/ Jonathan Walter

                                                  Yosef Getachew
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 106
       Term Sheet at 10.
 107
       47 U.S.C. § 325(b)(3)(C)(iv); 47 C.F.R. § 76.65(b)(1)(viii).

                                                                                                    29
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                              /s/ Cheryl A. Leanza

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                                        DECLARATION

       Common Cause and United Church of Christ OC, Inc.’s (d/b/a United Church of Christ

Ministry) Petition to Deny was prepared using facts of which I have personal knowledge or upon

information provided to me. I declare, under penalty of perjury, that the foregoing is true and

correct to the best of my information, knowledge, and belief.



Executed:

/s/ Yosef Getachew

Yosef Getachew
Common Cause




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                                 CERTIFICATE OF SERVICE

I, Jonathan Walter, hereby certify that on the 22nd day of June, 2022, I caused a true and correct

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         APPENDIX REMOVED




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                                 BEFORE THE
                     FEDERAL COMMUNICATIONS COMMISSION
                            WASHINGTON, DC 20554



In the Matter of                           )
Applications of Tegna Inc., for Transfer   )         MB Docket 22-162
of Control to Standard General, L.P.       )




                          PETITION TO DISMISS OR DENY OF

                                  THE NEWSGUILD-CWA

                                               AND

                      NATIONAL ASSOCIATION OF BROADCAST
                        EMPLOYEES AND TECHNICIANS-CWA




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June 22, 2022




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                                  BEFORE THE
                      FEDERAL COMMUNICATIONS COMMISSION
                             WASHINGTON, DC 20554

In the Matter of                               )
Applications of Tegna Inc., for Transfer       )      MB Docket 22-162
of Control to Standard General, L.P.           )

             PETITION TO DISMISS OR DENY OF THE NEWSGUILD-CWA
                  AND NATIONAL ASSOCIATION OF BROADCAST
                      EMPLOYEES AND TECHNICIANS-CWA

       The NewsGuild-CWA (“TNG-CWA”) and the National Association of Broadcast

Employees and Technicians-CWA (“NABET-CWA”) respectfully petition the Commission to

dismiss or deny the proposed transfer of control of TEGNA, Inc. ("TEGNA"). The applicant

parties seek approval of an extremely complex series of related transactions involving, among

others, SGCI Holdings III LLC ("SGCI Holdings"), Standard General L.P. ,1 Community News

Media LLC, CMG Media Corporation and Apollo Global Management, Inc. (“AGM”). As

explained below that complexity merits special scrutiny because it turns out to be in large part

due to the parties’ attempts to game the Commission’s ownership and retransmission consent

rules in ways that contravene the Commission’s public interest standard.

                              INTRODUCTION AND SUMMARY

       Allowing the proposed transactions to proceed would be manifestly contrary to the public

interest. In their initial public interest statement, and even as supplemented at the direction of

the Commission staff, the Applicants have not even attempted to meet their affirmative burden

of establishing that there are public interest benefits that can possibly outweigh the significant

losses to ownership diversity, to the health and capacity of local journalism, and to the cost of

pay-TV services that would result from grant of the applications. Nor have they demonstrated

       1
        For convenience, SGCI Holdings and Standard General L.P. are referred to here,
individually or collectively as "Standard General."


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that AGM - the party actually supplying the funding for this deal - will not in fact be obtaining

an attributable ownership interest in the newly configured TEGNA, thereby likely busting the

FCC’s national TV ownership cap.2

       The applications presented seek approval of an unprecedented array of sequenced

transactions and swaps. These machinations allow the Applicants to argue that they remain

under the caps established by the Commission’s ownership rules, so that their grant without

waivers of those rules would be possible, at least in theory. AGM, which would provide the

funds for the purchase, would be given non-voting stock so that it can claim not to have an

attributable ownership interest in the newly-configured TEGNA. However, there is serious

doubt as to whether conditions and covenants associated with the transaction will in fact afford it

de facto control, which would place AGM over the Commission’s national multiple ownership

audience reach cap. This is a matter which must be explored at hearing, but even if these

assertions were true, it does not mean that the applications can, or should, be granted. Indeed, as

shown below, their grant would be contrary to the public interest.

       Approval of the proposed transactions would create excessive concentration of control,

nationally and locally, in the affected markets. While the deals are constructed to make it appear

that AGM does not attain de facto control of Standard General and thus violate the

Commission’s national ownership rules, that arrangement is highly dubious, to say the least.

Moreover, the continued existence of the UHF discount means that the 39% audience reach cap

is not a meaningful standard. It has always been the case that nominal compliance with


       2
       Notably, under similar circumstances, the Commission has previously determined that
AGM has de facto control of former Cox Enterprise stations. Terrier Media Buyer, Inc., 34 FCC
Rcd 10544, 10549 (2019).


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ownership limits does not alone justify a public interest finding, and the Commission can and

should find that the transactions proposed here are unacceptable.

       The damage to localism is no less harmful, and not just in the TEGNA markets. TNG-

CWA and NABET-CWA call upon the Commission to pay particular attention to the damage

that grant of these applications would cause to the labor market in TEGNA cities as well as

throughout the country. While TEGNA has not been among the very best of group owners, it

operated under the umbrella of Gannett, an historic newspaper/broadcast operator which focused

entirely on its media products in its operation of more than 75 daily newspapers throughout the

country. Gannett also has a history of philanthropic endeavors to protect journalists and

journalism and their First Amendment rights. Unlike Gannett/TEGNA, which are media

companies, Standard General and its financier AGM come out of a different tradition. Media

and journalism are simply lines of business to them. Standard General has owned and operated

hotels, casinos, online sports betting and retailers like American Apparel.3 Its focus is making

money, not journalism.

       The operating model of hedge funds like Standard General and AGM is to cut operating

costs, and sell off underperforming assets, with a relentless focus on satisfying their investment

partners. Reducing labor costs through cutting jobs, reorganizing and limiting salaries is a

central element of that model. In this instance, it translates, among other things, to reducing jobs

by taking advantage of monopsonistic power in the local and national labor market for



       3
        AGM, which is much larger, has owned and/or operated or invested in countless
companies, few of which are involved in journalism. With the exception of the stations AGM
recently acquired from Cox, these portfolio companies include properties such as cruise lines,
financial services, supermarkets, defense contractors, and restaurants, among many other
properties.

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journalism, where the dramatic reduction in daily newspapers and increased focus on national

digital distribution has reduced job openings for journalists, allowing them to squeeze

employees’ salaries. By this means, they

       can reduce production costs, perhaps dramatically, by substituting nationally
       focused and ideologically unified content produced in a single studio for locally
       focused and ideologically diverse content produced by many local journalists.

Martin and McCrain, Local News and National Politics, 113 American Political Science Review,
372, 373 (2019).

In fact, Standard General itself cites as an example of its operating methods its newscast at a

station in Cape Girardeau, MO which is presented by news staff, on air anchors, weather

forecasters and sports announcers located in Lincoln, NE, more than 500 miles away. While this

may be good for the investors’ bottom line, it harms the vitality of the labor market in Cape

Girardeau and elsewhere in the country.

       Even after supplementation at the request of the Commission staff, the Applicants do not

demonstrate any public interest benefits that would accrue from the transactions, much less

benefits that would counteract the significant detrimental impacts that would accompany grant of

these applications.

       Beyond that, this case presents to the Commission a special circumstance that absolutely

precludes grant of the applications without further exploration in an evidentiary hearing. It is

clear from the party’s tactics in an earlier transaction, and from the materials that have been filed

with the Commission, that the sole reason for some of these station transfers, and immediate

retransfers in a precise sequence, is to trigger so-called after acquired station clauses in

retransmission consent arrangements with Multichannel Video Programming Distributors




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(“MVPDs”.4 There is no claimed, or valid, public interest benefit from those extra transfers.

To the contrary, they are designed to benefit the Applicants’ private interests of increasing

retransmission consent revenue. Rather, these otherwise needless transfers will, inevitably,

increase the cost of pay-TV subscriptions, something that harms TNG-CWA’s and NABET-

CWA’s members and all other MVPD customers and thus harms the public interest, especially at

a time when the economy is being buffered with high inflation. Balancing the public’s interest

against the Applicants’ desire to advance their private financial interests is enough, in and of

itself, to render these applications contrary to the public interest.

I.      THE STANDARD OF REVIEW.

        As is set forth more fully below, and in the other petitions to deny and other pleadings

being submitted in opposition to the grant of these applications, there are numerous very

substantial, and very material, issues of fact as to whether their grant is in the public interest.

Accordingly, the Commission must dismiss the applications or designate them for hearing.

        Processing of these applications is governed by Sections 309 and 310 of the

Communications Act. Under section 309(d)(2), the Commission must determine whether there

are substantial and material questions of fact that preclude immediate grant of an application to

transfer control of a broadcasting station. In reviewing the record, the Commission must

designate an application for hearing if

        “the totality of the evidence arouses a sufficient doubt” as to whether grant of the
        application would serve the public interest. Section 310(d) of the Act prohibits the
        transfer of control of a license, either de jure or de facto, without prior Commission
        consent.


        4
         See, “What the Hell Is a vMVPD? The Modern Streaming Market Explained,” The
Wrap, April 2, 2019.
https://www.thewrap.com/vmvpd-svod-avod-tvod-streaming-market-explained/

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Tribune Media Company, 33 FCCRcd 3630, 3634 (2018) (footnotes with citations omitted).

Pursuant to Section 309(e), if the Commission makes such a finding, or “if for any reason” it

believes that grant may not be in the public interest, it “shall” designate a hearing so that an

Administrative Law Judge can review the case with the benefit of the rules of evidence and make

appropriate findings of fact and conclusions of law.

       Section 310(d) sets out the stringent requirements for grant of an application for transfer

of control of a broadcast license. Applicants have an affirmative duty to establish that grant of

each application will serve “the public interest, convenience and necessity.” Even if - as is not

the case here - proposed transactions likely do not transgress specific Commission rules or

policies, the Commission must still balance the harm and benefits, if any, of a transaction in

making its public interest determination. As the Commission has explained,

       If the transaction would not violate a statute or rule, we consider whether it could
       result in public interest harms by substantially frustrating or impairing the
       objectives or implementation of the Act or related statutes. We then employ a
       balancing test weighing any potential public interest harms of the proposed
       transaction against any potential public interest benefits. The Applicants bear the
       burden of proving, by a preponderance of the evidence, that the proposed
       transaction, on balance, serves the public interest. If we are unable to find that
       the proposed transaction serves the public interest for any reason, or if the record
       presents a substantial and material question of fact, we must designate the
       Application for hearing.

Charter Communications, Inc. 31 FCCRcd 6327, 6336-37 (2016)(footnotes omitted).

       The Commission’s public interest mandate requires it to explore, not ignore, issues that

implicate the public interest. As the D.C. Circuit has said,

       [T]he Federal Communications Commission was intended by Congress to
       function as far more than a mere referee between conflicting parties. Regardless
       of the formal status of a party, or the technical merits of a particular petition, the
       FCC “should not close its eyes to the public interest factors” raised by material in
       its files. ... [A]s a general matter, the federal regulatory agencies should construe
       pleadings filed before them so as to raise rather than avoid important questions.

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       They “should not adopt procedures that foreclose full inquiry into broad public
       interest questions, either patent or latent.”

Retail Store Employees Union, Local 880 v. FCC, 436 F.2d 248, 254 (D.C. Cir. 1970)(citations
omitted).

       As initially filed, the Applicants fell grievously short of the bare minimum showing upon

which the Commission could base the requisite public interest finding. This was made

demonstrably clear when the Commission directed the Applicants to supplement their

presentations and answer a number of questions left unresolved on the basis of the record then

available. See, Media Bureau Information Request, Docket 22-162 (June 3, 2022). However,

initial review of the new submissions, presented to the Commission on June 13, do not resolve

these questions. To the contrary, they raise even more doubt as to how the applications can be

granted consistent with the public interest standard and make an even stronger case for a hearing

designation.

II.    TNG-CWA AND NABET-CWA HAVE STANDING TO CONTEST THE
       ALL OF THE PROPOSED TRANSFERS BOTH AS ASSOCIATIONS
       ACTING ON BEHALF OF THEIR MEMBERS AND AS LABOR UNIONS
       WITH ORGANIZATIONAL STANDING.

       TNG-CWA and NABET-CWA have standing to bring this petition both as associations

on behalf of their members and as organizations that would incur direct harm if the Commission

were to grant the pending applications.

       First, as established by the declarations from TNG-CWA and NABET-CWA members,

TNG-CWA and NABET-CWA have associational standing to challenge each of these

transactions in their entirety. The harms they each identify as facing them include at least five

independent bases:

       1.      The loss of job opportunities resulting from the likely reduction in job openings at


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       TEGNA stations in all markets affected by these applications. This harm affects

       every TNG-CWA and NABET-CWA member, as it deprives them of job mobility

       that would allow them to move to a different market. Most TNG-CWA and

       NABET-CWA members have skill sets that would permit them to work at

       newspapers, digital platforms or television stations in TEGNA markets and

       elsewhere. Such positions include, but are not limited to, reporters, editors,

       photographers, videographers, directors, camera operators, graphics artists, data

       journalists, sound technicians, copy editors, page designers, ad sales, and support

       teams.

 2.    The loss of job opportunities throughout the journalism industry resulting from

       the anti-competitive impact of the consolidation that would take place if these

       transactions were approved.

 3.    Loss of access to local journalism coverage in their communities. Like many

       viewers of local television stations, TNG-CWA and NABET-CWA members

       regularly view television programming and rely on it for information about

       elections and other local issues of importance so that they can engage in civic

       discourse. However, they also have a professional need to be aware of local news

       and issues and how they are covered widely and effectively.

 4.    Reduced wages created by Standard General’s need to cut costs to meet its

       substantial debt service obligations.

 5.    Increased costs for pay-TV subscriptions as a result of artificially inflated

       retransmission consent fees that will be passed on to customers;

 Second, TNG-CWA and NABET-CWA also have standing as organizations. As

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established in the declaration of TNG-CWA President Jon Schleuss, Exhibit A, TNG-CWA’s

mission includes promoting the welfare of its membership throughout the country, maintaining a

well-paid professional environment with good working conditions, and protecting and promoting

the health of local journalism.5 To fulfill that goal, TNG-CWA has expended considerable

resources in advocating federal and state legislation and regulations that will preserve and

expand local journalism resources.6 The declaration of NABET-CWA’s President Charlie

Braico, Exhibit B, describes NABET-CWA’s similar mission. NABET-CWA’s objectives, as

set forth in its by-laws, include “advanc[ing] the science of broadcasting...and allied

industries...and to advance the trade union cause both nationally and internationally.”7



       5
          TNG-CWA’s constitution provides that “The purpose of the Guild shall be to advance
the economic interests and to improve the working conditions of its members; to guarantee, as
far as it is able, equal employment and advancement opportunity in the industry and constant
honesty in news, editorials, advertising, and business practices; to raise the standards of
journalism and ethics of the industry; to foster friendly cooperation with all other workers; and to
promote industrial unionism in the jurisdiction of the Guild.”
https://newsguild.org/the-newsguild-cwa-constitution/#A1
       6
         As vice presidents of the Communications Workers of America, Mr. Schleuss and Mr.
Braico also have the responsibility to represent the interests of all CWA members, including but
not limited to, at three unionized TEGNA stations in Hartford, Waterbury and Cleveland.
       7
       Section 1.3 of the bylaws provides as follows:
1.3 Objectives and Principles

The objectives and principles of the Sector shall be to aid workers employed in the broad-
casting, distributing, telecasting, recording, filming and allied industries; to secure improved
wages, hours and working conditions; to promote the organization of the unorganized in these
industries into this Sector; to encourage all workers without regard to race, creed, age, sex,
sexual orientation, color or national origin to share in the full benefits of this Sector; to advance
the science of broadcasting, distributing, telecasting, recording, filming and allied industries; to
publicize the international importance of these industries and to advance the trade union cause
both nationally and internationally.



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        TNG-CWA’s commitment to promoting local journalism is embodied in its Save The

News campaign, a fight for long-term solutions to the crisis facing the news industry, by

advocating for public policy that will:

        !      Breakup corporate ownership of news organizations;

        !      Provide incentives for financial investors to sell news organizations to

               civic-minded, local investors;

        !      Provide grants, tax credits and new revenue for news organizations, and

               ensure that additional money is spent in newsrooms and not padding a

               corporate bottom line;

        !      Increase public access to government records; and

        !      Protect journalists and their sources from prosecution.

        Grant of the applications at issue in this proceeding would exacerbate the threat to local

journalism in many ways. In particular, TNG-CWA as an institution and TNG-CWA’s members

will be injured by an FCC decision accepting Applicants’ argument that expansion of TEGNA’s

existing Washington “news desk” and increasing its output somehow benefits localism when in

fact, it will reduce the quality and quality of local news coverage.

III.    IF APPROVED, THE PROPOSED TRANSACTIONS WOULD LIKELY RESULT
        IN AGM EXCEEDING THE 39% NATIONAL AUDIENCE REACH CAP, AND
        IN ANY EVENT THE LEVEL OF CONCENTRATION THEREBY ATTAINED
        WOULD BE CONTRARY TO THE PUBLIC INTEREST.

        The level of national ownership that Standard General would attain by grant of the

applications is contrary to the public interest. While the Applicants state that ownership levels

post-transaction would not be in excess of the 39% audience reach cap as presently constituted,

that may well not be the case. It appears that the complicated financial arrangements and


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covenants associated with AGM’s financing of these transactions would make AGM’s interests

attributable, which would, in combination with its current de facto ownership interests in Cox

Media Group, place it over the 39% limit.

        In any event, the level of national ownership Standard General would attain would be

contrary to the public interest even if the Commission had no national ownership audience reach

cap.

        First, and most importantly, even if a transaction does not result in an owner breaching

the 39% benchmark set out in 47 CFR §73.3555(e) that would not mean the Applicants have met

their burden of establishing that their proposals are in the public interest. The Commission’s

rules merely establish a line over which an application would be ungrantable absent a waiver.

However, this does not mean that grant of applications resulting in audience reach below 39% is

presumptively in the public interest. To the contrary, as discussed above, the burden is at all

times on the Applicants to establish that favorable action advances the public interest.

        TNG-CWA and NABET-CWA note in this regard that the Commission currently

employs the widely discredited UHF Discount in calculating compliance with the 39% cap set

forth at 47 CFR 73.3555(e)(2)(I). However, since the UHF Discount was adopted in 1985, the

vast majority of viewers have subscribed to newly-available MVPDs, and thus have no

impediment accessing UHF stations. Indeed, the digital television transition and the consequent

repacking proceedings have in many cases made UHF frequencies more, not less advantageous

to licensees. Thus, in 2016, the Commission repealed the UHF discount, finding that

        The record is absolutely clear: UHF stations are no longer technically inferior in any way
        to VHF stations. Therefore, we find that the DTV transition has rendered the UHF
        discount technically obsolete, and we hereby eliminate it from the calculation of the
        national audience reach cap. The UHF discount was forged in an analog world to address
        an analog coverage deficiency. Today, in a digital world, there is no remaining technical

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       justification for the UHF discount. Rather than offsetting an actual service limitation or
       reflecting a disparity in signal coverage, the UHF discount serves only to confer a
       factually unwarranted benefit on owners of UHF television stations that undermines the
       purpose of the national audience reach cap. Furthermore, the Commission's ongoing
       experience reviewing media transactions after the DTV transition date indicates that
       failure to correct the distortion that the UHF discount causes in the calculation of the
       national audience reach as a result of the DTV transition creates an ongoing potential that
       additional transactions could undermine the national audience reach cap.

Amendment of Section 73.3555(e) of the Commission's Rules, National Television Multiple
Ownership Rule, 31 FCCRcd 10213, 10226 (2016), reconsideration granted in part, 32 FCCRcd
3390 (2017), appeal dismissed sub nom. Free Press v. FCC, 735 Fed.Appx. 731 (Mem) (D.C.
Cir. 2018).

       Subsequently, a newly-constituted Commission voted 2-1 to reverse that determination, a

decision that was never judicially reviewed on the merits because the D.C. Circuit dismissed

objectors’ petition for review on jurisdictional grounds. Amendment of Section 73.3555(e) of

the Commission's Rules, National Television Multiple Ownership Rule, 32 FCCRcd 3390

(2017). There is nothing in the 2017 decision reinstating the UHF discount that undermines or

rejects the findings with respect to the obsolescence of the UHF discount. Rather, that action

was based on the view that the Commission should not have reviewed the UHF discount in

isolation from the rest of Section 73.3555(e).8 Thus, while the UHF discount remains on the

books, the Commission should afford no persuasive weight to whether ownership below 39% as

calculated under the current rules might somehow be less problematic than ownership over that

limit so calculated.


       8
         Commissioner Clyburn dissented, saying that “Although repeatedly stating, that the
UHF discount and national audience reach cap are “inextricably linked,” and must be examined
in tandem, the Commission here fails to cite a single legal authority that limits review or
modification of the UHF discount to simultaneous review of the national audience reach cap.
Instead, the majority relies on a selective history of the UHF discount, and unsupported
arguments of petitioners, that “the FCC has no authority to change one without at least reviewing
the impact the change will have on the other.” Id., at 3407 (Commissioner Clyburn
dissenting)(footnote omitted).

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       Third, with or without consideration of the national ownership cap, and with or without

applying the UHF discount, the national ownership concentration that would result from

approval of these applications is inconsistent with the public interest both in absolute terms and

because of Standard General’s plans to leverage this ownership for its own benefit at the

detriment of the needs of the public. Rather than breathing life into localism, grant of these

applications would maintain national ownership concentration at undesirable levels.

IV.    THE PROPOSED TRANSACTIONS WOULD UNDERMINE THE
       COMMISSION’S CORE GOAL OF PROMOTING LOCALISM.

       Standard General’s protestations to the contrary notwithstanding, its financial plans

cannot be accomplished without cutting the amount and quality of local programming and

substitution of nationally distributed and oriented content and other cheaper programming, such

as nationally syndicated shows.

       It is hard to overstate the importance of maintaining the quantity of local news provided

in a market. As Professor Danilo Yanich has explained,

       In a democracy, there is an explicit expectation that informed citizenship is a
       crucial and necessary condition for the functioning of the body politic. That
       informed citizenry depends on the existence of reliable and responsible methods
       of political communication. As the scale of modern society has increased, it has
       reduced the opportunities for more than a relatively small number of citizens to
       physically gather in the same place at the same time to engage the public
       sphere-"that realm of social life where the exchange of information and views on
       questions of common concern can take place so that public opinion can be
       formed.”

Yanich, Does Ownership Matter? Localism, Content, and the Federal Communications
Commission, 23 Journal of Media Economics 51, 53 (2010)(citation omitted).

       If the current applications are granted, TEGNA will be supplanted by an operator whose

stated business model is to favor its investors’ private interests rather than the public interest by

ruthlessly cutting costs. Indeed, as shown by its 2020 pitch deck from its earlier effort to buy

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TEGNA,9 and elsewhere in the record, Standard General regards cutbacks in head count and

local programming as a feature, not a bug.

       With respect to resources devoted to local programming, TEGNA (including its

operations under its predecessor name, Gannett) has been far from perfect. Nonetheless it has

run towards the front of an admittedly slow field, as a better than average custodian of its public

trust. Investment pitches from Standard General (backed by its financier, AGM) show that their

focus is on increasing returns by identifying properties where they can cut costs.

       Standard General’s principal assertion of any public interest benefit with respect to local

programming fails at the beginning. It brags that it is going to rely on company-wide national

content from a “DC news desk,” ostensibly to improve news programming. But TEGNA already

has such a “DC news desk.” Standard General does not argue, much less prove, that TEGNA’s

DC-originated news coverage, which was created by, and has provided national coverage under

the umbrella of, its former parent Gannett - one of largest journalism organizations in America -

is somehow deficient or inadequate. Thus, especially since national news coverage is readily

available from the existing TV network news department, Standard General’s takeover of it will

provide little, if any, incremental value, and certainly not enough to outweigh the detrimental

impacts of the proposed transactions. Commissioner Starks has questioned whether treating

“increased access to a Washington, DC news bureau as a significant public interest benefit” is

arbitrary and capricious, adding that “it is not at all clear to me why this is considered a ‘benefit’



       9
         One slide reads: "TEGNA has 2x the number of employees per station compared to
peers, and lags its closest local broadasting peers on EBITDA margin." See SEC Form DFAN
14A, Tegna, Inc. and Standard General, L.P., April 13, 2020, p. 21:
https://www.sec.gov/Archives/edgar/data/39899/000110465920045933/tm2015782-1_dfan14a.h
tm

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at all,...” Tribune Media Company, 33 FCCRcd at 8481. In fact, Standard General’s desire to

“expand” reliance on the national news desk would have the primary function of increasing

existing national news coverage at the expense of local news investment and coverage.10 Thus, it

is a very real, substantial and material factual issue of fact as to whether the real goal of this

“expansion” at the national level is to cut coverage - and jobs - at the local level. This is a bug,

not a feature; and to make a case to the contrary, Standard General will have to prove this

“benefit” exists at an evidentiary hearing.

        Beyond the claimed benefit of increasing national news coverage, the application and

SG’s June 13, 2022 responses to the Commission’s inquiry are devoid of specifics and are

completely unenforceable. They are precisely what Standard General claims them not to be:

“just management speak.” Applicants’ Response to Request for Documents and Information,

June 13, 2022 at 5. Several pages of generic word salad, using jargon such as “‘Move-the-

Needle’ process,” “more extensive review,” and “holistic analysis.” id., cannot obscure the

reality that Standard General commits to nothing that TEGNA does not already do. It is

especially telling that Standard General attempts to demonstrate its commitment to localism in

its existing station by citing just one example: they claim that Standard General “increased

newsroom staff by 28% overall, including the addition of six local journalists to KBSI(TV),

Cape Girardeau, MO....” Id., at 6 (emphasis in the original). But Standard General does not say

where this new staff is located. That matters because, what Standard General does not say is,



        10
         The overemphasis on national news coverage is, to many, one of the most serious
challenges faced by the journalism profession. A recent Pew analysis showed that more than one
in five U.S. newsroom employees is located in New York, Los Angeles and Washington. Pew
Research Center, “One-in-five U.S. newsroom employees live in New York, Los Angeles or
D.C.” (October 24, 2019), https://pewrsr.ch/2oc2MZf

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that as of March, 2022, Standard General has been producing its “local” Cape Girardeau,

Missouri newscast with anchors, production staff and editors located in Lincoln, Nebraska.11

Even if there are some reporters actually based in Cape Girardeau, there is no way that news

directors, assignment and other editors without local roots and contacts, can properly serve a

community while located more than 500 miles away.12

       It is, of course, possible to produce a newscast in the community of license, but it is

much cheaper to produce what is necessarily an inferior product. That is a powerful

demonstration of Standard General’s operating methods, and offers scant assurance to the

hundreds of TEGNA journalists and production staff that their jobs are safe, much less that they

can continue to produce truly local content rather than faux newscasts that are, literally, piped

from far across the country.

       A recent and growing body of empirical research establishes the adverse consequences of

multiple television ownership on localism and the health of local journalism. These studies

support a finding that the Commission should find that this and similar transactions are contrary

to the public interest and should not be accommodated.

       While there is some data showing that when nationally distributed newspapers enter local

markets, local newspapers respond competitively by giving greater attention to local coverage,

this is not the case for television. Noting the powerful economies of scale in group TV



       11
         https://en.wikipedia.org/wiki/KBSI (“The news and weather anchors are based in
Lincoln while the reporters work out of the KBSI studios in Cape Girardeau.” See also,
https://www.youtube.com/watch?v=ZJwn2y4cqPA (comments).
       12
         The fact that Standard General intends to dump both KBSI(TV) and KLKN(TV),
Lincoln, NE to AGM-controlled CMG offers scant hope for the resumption of a locally-
produced newscast.

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ownership, Professors Martin and McCrain found that

       Acquisition of the existing local outlets by a national conglomerate produces the
       opposite impact on coverage relative to entry by a new, separately owned national
       outlet. A conglomerate owner can reduce production costs, perhaps dramatically,
       by substituting nationally focused and ideologically unified content produced in a
       single studio for locally focused and ideologically diverse content produced by
       many local journalists.

Martin and McCrain, Local News and National Politics, 113 American Political Science Review,
372, 373 (2019).

“Consolidation,” they found, “changes the incentives of news providers, shifting coverage

towards the topics that can be distributed in multiple markets rather than those - such as local

politics - that are market-specific.” Id. Their detailed analysis of a TV group owner’s acquisition

showed that there was “a 25% increase relative to the average level in the sample.” Id., at 379.

       These findings are consistent with the results of a new and very careful analysis of

corporate ownership concentration: “corporate acquisition is associated with a reduction in

locally focused content;...” LeBrun, Todd, and Piper, "Buying the News: A Quantitative Study

of the Effects of Corporate Acquisition on Local News," 24 New Media & Society 1, 20 (2022).

Looking at staffing reductions after corporate acquisitions by hedge funds like AGM and

Standard General’s parent, they concluded that “it is not only declines in staff which reduces

locality following acquisition, but also that the structure of content distribution brought about by

corporate acquisition can have a detrimental effect on the local information environment of

affected communities.” Id.

               The United States has a labor monopsony problem. A labor monopsony
       exists when lack of competition in the labor market enables employers to
       suppress the wages of their workers. Labor monopsony harms the economy: the
       low wages force workers out of the workforce, suppressing economic growth.
       Labor monopsony harms workers, whose wages and employment opportunities
       are reduced. Because monopsonists can artificially restrict labor mobility,
       monopsony can block entry into markets, and harm companies who need to hire

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       workers.

Marinescu and Posner, “A Proposal to Enhance Antitrust Protection Against Labor Market
Monopsony,” Roosevelt Institute Working Paper (2018). See also, Marinescu and Posner,
“Why Has Antitrust Law Failed Workers?”, 105 Cornell L. Rev. 1343, 1355 (2020).

Any baseball fan understands the power that employers can wield in a market where they are

free to collude to restrict employees’ salaries and job mobility, and how unionization can help

level the metaphoric (and even literal) playing field. See, McFall and Tatich, “Federal Baseball

Turns 100: The Long Legal Game of Athletes Gaining Economic Rights in the United States,”

22 Wake Forest J. Bus. & Intell. Prop. L. 314 (2022).

       TNG-CWA and NABET-CWA thus urge the Commission to recognize the need to

examine the impact of its decisions on the labor market:

       For too long, competition scholars have overlooked the labor market as a site of
       market concentration and anticompetitive practices and have also overlooked
       wages as prices. Instead, following Bork, antitrust policy has focused on the
       product market and consumers. The growing evidence about the harms of
       anticompetitive labor market practices is increasingly exposing this oversight in
       the past decade. ...[N]ew research shows that the labor market is likely more
       concentrated than the product market and that the harms are substantial.
       Economists have studied labor market monopsonies and have demonstrated how
       market concentration and noncompetes are correlated with wage-setting and wage
       discrimination. In 2016, the Council of Economic Advisers warned that
       “employers may be better able to exercise monopsony power today than they
       were in past decades” and “forces that undermine competition tend to reduce
       efficiency, and can lead to lower output, employment, and social welfare.”

Lobel, “Boilerplate Collusion: Clause Aggregation, Antitrust Law & Contract Governance, 106
Minn. L. Rev. 877, 916-917 (2021) (citations omitted).

V.     THE APPLICANTS’ ATTEMPT TO EXPLOIT “AFTER-ACQUISITION”
       CLAUSES IN RETRANSMISSION CONSENT CONTRACTS WILL
       INEVITABLY RESULT IN INCREASED MVPD SUBSCRIPTION PRICES
       THAT WILL HARM PETITIONERS’ MEMBERS AND ALL OTHER
       SUBSCRIBERS.

       The applications seek FCC approval for a complex and precisely sequenced series of


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transactions. After a number of intermediate steps, the end result would be that Standard

General would buy a Boston TV station from Apollo’s CMG, sell four Texas stations to CMG

and buy most of TEGNA’s stations. The details are complicated, but the underlying reason for

these maneuvers is not.

       To uninitiated, and even to very sophisticated, observers, there seems to be no need for

these transactions to be sequenced so carefully. However, as the record now before the

Commission clearly shows, the transactions have been designed to exploit standard clauses in

retransmission consent contracts between broadcasters like TEGNA and subscription TV

companies that resell the broadcasters’ program feed to their subscribers. These “after-acquired

station” and “change-in-control” provisions allow a purchaser to substitute their higher

retransmission fee arrangements for those less remunerative deals that the seller may have had.

       Under somewhat similar circumstances, a stratagem of this kind has been employed

before, and was not found to be contrary to the public interest by the Commission. In 2019,

the Commission approved the transfer of stations from Tribune to Nexstar over the objections

of DISH (a satellite MVPD) and ATVA, a cable industry trade association. Tribune Media

Company, 34 FCCRcd 8436 (2019).

       Soon afterwards, in Terrier Media Buyer, Inc., supra, the Media Bureau rejected similar

arguments from ATVA based on the Nexstar precedent. It explained the Nexstar holding as

follows:

       The Commission also declined to find “that an increase in retransmission
       consent rates, by itself, is necessarily a public interest harm.” Instead, the
       Commission noted the lack of evidence in the record to establish whether, on
       balance, an increase in retransmission consent rates would reduce consumer
       welfare or rather just shift surplus between MVPDs and broadcast stations,
       Here, ATVA similarly fails to provide such evidence demonstrating consumer
       harm. Ultimately, we find that ATVA provides no basis to depart from the

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       Commission’s prior conclusions, and therefore we decline to do so based on the
       record before us here.
                In addition, the Nexstar-Tribune Order reaffirmed that the Commission
       is not the appropriate forum for addressing private contractual matters, such as
       after-acquired station clauses in retransmission consent agreements. As the
       Commission stated in Nexstar-Tribune Order “after-acquired station clauses
       were negotiated by the parties outside of this transaction, and there is no
       apparent reason to step in and deny one party the benefit of the negotiated
       bargain absent evidence of anticompetitive practices or other wrongdoing not
       apparent here.”

Id., at 10565-66.

       TNG-CWA and NABET-CWA believe those decisions were wrongly decided and

should be overruled. However, it is not even necessary to overrule the earlier cases to reach a

different result here, as there are two material differences. First, based on material submitted

to the Commission by the Applicants, the record clearly establishes that the sequenced

transactions here were explicitly designed to exploit existing contracts in a manner which was

not within the scope of what was contemplated by the MVPD parties. Second, it is clear from

the text of the decisions that the Commission, and then the staff, were addressing a different

harm alleged by parties to arms-length contracts with the broadcasters. They had no occasion

to reach the issue as it is presented here. TNG-CWA and NABET-CWA are not asking the

Commission to intrude into a private contract dispute about allocation of revenues. Regardless

of how those revenues are divided between those parties, the damage that the Commission

must assess here is the cost to consumers, however they arise.

       In its past decisions, the Commission said there was insufficient evidence on the record

before it that manipulation of the retransmission agreements causes harm to consumer welfare,

Rather, the Commission said that, as between the sellers (broadcasters) and the immediate

buyers (the MVPDs), the contracts seemed only “to just shift surplus between MVPDs and


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broadcast stations,...” Tribune Media Company, supra at 8452. Whether or not that is a

correct analysis of the business arrangement, TNG-CWA’s and NABET-CWA’s members and

other consumers are victims of, not parties to, those contracts, being forced to pay more for the

same product based on abuse of contractual power.

       Here, there is direct and unambiguous evidence of harm to consumer welfare. The

challenge in this case is not about whether it is in the public interest for MVPDs to be

obligated to pay more for programming. Rather, it is brought for redress of a different, clearly

cognizable, harm - increased prices to TNG-CWA and NABET-CWA members and other

subscribers that result from the way in which this transaction was structured. This is entirely

different than asking the Commission to referee the private business dispute that was presented

to it in the earlier cases. Thus, the Commission needs to look at the damage from abuse of

these contracts through a different lens. Especially in an inflationary economic environment,

increased prices for end users manifestly implicates the public interest and causes significant

and measurable harm to consumer welfare. These customers never have the opportunity or the

power to negotiate with broadcasters over the fees. Their only choice is to pay the increased

prices or cancel their service.

       The harm to consumer welfare here is unquestionable. Increased retransmission fees

are directly passed on to customers. It is not necessary to conduct an extensive economic

analysis to determine that these fees are actually passed on, or that price increases are actually

due to other factors. That is because most MVPDs do not generally include increased

retransmission costs in their basic subscription pricing. Rather, probably because they prefer

to advertise a lower “teaser” price, they opt to recover retransmission costs through separate

fees above the nominal basic price, along with taxes, franchise fees, etc. Moreover, they are

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very explicit about the reason for these increasing fees. Here is how one consumer website

explained Comcast’s recent action:

               Comcast will raise the price of the average monthly bill, including
       video, Internet and voice, by an average of three percent nationwide in January
       2022 as well as raise the regional sports channel fee and Broadcast TV fee by as
       much as $7 a month combined. The cable operator last January raised prices by
       an average of 3.2 percent and raised the sports and broadcast fees by as much as
       $6.50 a month combined.
               The 2022 price boost, which is now being communicated to Comcast’s
       subscribers, will follow similar recent increases by satcaster Dish, and
       streaming services such as Hulu Live, The TV companies say that prices must
       rise to offset the escalating cost of program acquisition. Pay TV operators
       must pay the networks and other content providers to carry their
       programming. (Hulu Live is adding Disney+ and ESPN+ with its price
       increase.)
               Content providers continue to increase the costs they charge us to
       carry their content, with broadcast TV and sports being the biggest drivers of
       price increases,” a Comcast spokesperson told The TV Answer Man.

“Comcast to Hike Prices, Fees In January 2022,” TV Answerman (November 29, 2021)
https://tvanswerman.com/2021/11/29/comcast-to-hike-prices-fees-in-january-2022/ (emphasis
added).13

        The increased retransmission fees that would result will be passed on to consumers

who have no other source of redress are a paradigmatic instance of harm to consumer welfare.

The record shows that the invocation of the “after-acquired station” and “change-in-control”

clauses benefit the private interests of the Applicants, but harm consumers. Thus, even were

the Commission’s precedents properly decided, the facts of this case compel a finding that



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         See also, “Charter Spectrum will raise cable TV, home phone prices for many
customers in June,” Palm Springs Desert Sun, May 29, 2021,
https://www.desertsun.com/story/news/2021/05/29/charter-spectrum-raise-cable-tv-home-phone-
prices-june/5257738001/ (“TV programmers annually raise fees to carry their content, driving
higher costs across the entire industry,” a Spectrum spokesperson said. “As a direct result of the
growing cost of programming from the TV networks we carry, we are passing through these
increased fees to viewers.”)


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approval of the proposed applications is contrary to the public interest.

                                        CONCLUSION

       The Applicants have failed to meet their affirmative burden of demonstrating that grant

of their applications is in the public interest. There are numerous very substantial and very

material issues of fact which must be explored at hearing. Accordingly, TNG-CWA and

NABET-CWA ask that the Commission dismiss the applications or designate them for an

evidentiary hearing.

                                              Respectfully submitted,

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         EXHIBITS REMOVED




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                              CERTIFICATE OF SERVICE

       I, Andrew Jay Schwartzman, certify that on June 22, 2022, a copy of the foregoing was
served by electronic mail upon the following:

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